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EXHIBIT B

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6475 Buskirk Avenue -

Sulte 108
a , Pleasant hill, CA 94523
if TRANSWESTERN . . : Phone: 925.838, 1208
COMMERCIAL SERVICES * . Fax: 925.939.1253

, : yoww.transwestem.nat

April 21, 2005

Mr. Jim Hardy

The Cottages Apartments, LLC

1220 Ensenada Ave.
- Laguna Beach, CA 92651

RE: ' IRWIN MORTGAGE

1140 Galaxy Way .
Dear Jim:

American Home Mortgage Corporation is acquiring Irwin Mortgage. Attached for your review and execution ~
- are three (3) Assignment and Assumption.of Lease, which require execution of the Consent of Landlord, which

is attached. So

Please forward twa (2) fully executed documents to American Home Mortgage in the attached UPS envelope.

If you have any questions regarding this please do not hesitate to call.

Sincerely |.
TRANSWESTERN COMMERCIAL SERVICES.

VIF

James D. Gilchrist _ .
Senior Property Manager _

Enclosures i

Ce: Jim Ireland

Your Partner of Choice.

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Irwin Mortgage Corporation
10500 Kincaid Orive ©
Fishers, IN 46038-9515

P.O, Box 6107
Indianapolis, IN 46206-6107
317.584.8900
: 317.598.7700 Fax
April 20, 3005 , _ wWww.irwinmortgage.com —
_ Jim Gilchrist
Transwestern Commercial Services irwin
3478 Buskirk Avenue
Suite 108 Mortgage

Pleasant Hill, CA 94523

RE: 1140 Galaxy Way, Suite 150
Dear Mr. Gilchrist:

Pursuant to an Asset Purchase and Sale Agreement effective April 3, 2005 (the
“Agreement”, Irwin Mortgage Corporation has sold its branch and assets at the above-
referenced location to American Home Mortgage Corp., a New York corporation, The
Agreement requires Irwin to assign to American Home Mortgage Corp, all interest in and
to the Lease dated November 5, 2002 between Irwin and 1140 Galaxy Way. American
Home Mortgage Corp. is a real estate investment trust which is publicly t traded on the
NYSE under AHM. .

Enclosed with this letter, please find an Assignment and Assumption of Lease fully
executed between Irwin and ‘American Home with an effective date of April 4, 2005.
Also included is a Consent of Landlord. We request your consent to the Assignment.

If you have any questions regarding American Home, please contact Thomas

McCambridge, Director of Corporate Real Estate at American Home at 631-622-5772 or
email to Thomas MoCambridge@americanhm.com, You may also contact me at 317-537-3409
or email to Aimee. Hill@irwinmortgage.com.

Please return two fully executed documents to Thomas McCambridge at American Home
Mortgage Corp. I have included a UPS retum address label for your convenience in
returning same.

Sincerely, -

- Aifhee R. Hill
Assistant Vice President
Associate Counsel

ce: Thomas McCambridge, American Home Mortgage Corp.

an trwin Financial Gompany
EQE/AAP

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ASSIGNMENT AND ASSUMPTION OF LEASE

THIS ASSIGNMENT AND ASSUMPTION OF LEASE (“Assignment’) dated as
of April 1, 2005, entered into by and between IRWIN MORTGAGE CORPORATION,
an Indiana corporation, 10500 Kincaid Drive, Fishers, Indiana 46038 (“Assignor”) and
AMERICAN HOME MORTGAGE CORP., a New York corporation, 538 Broadhollow
Road, Melville, NY 11747 (“Assignee”);

WITNESSETH:

_ WHEREAS, Assignor is the Lessee under that certain Lease Agreement dated
November 5, 2002, executed.by Assignor as Lessee and.1140 Galaxy Way as Lessor for

. premises located in Concord, California and more particularly described in the lease:

agreement, a copy of which is attached hereto and made a part hereof as Exhibit A A (the
. “Lease”); and

WHEREAS, Assignor desires to assign its interest as Lessee in the Lease to
Assignee, and Assignee desires to accept the assignment thereof and assume the liability
of Assignor as further described herein, effective April 4, 2005 (the “Effective Date”);

“NOW, THEREFORE, in consideration of the promises and conditions contained
herein, the parties hereby agree, as follows:

1, Assignor hereby gratis, conveys, assigns, transfers ands sets over to Assignee
all of its right, title and interest i in and to the Lease, and any guarantees related thereto.

2. The Assignee shall take possession, occupancy, and assume operation of the
Lease and lease property on the Effective Date, subject to the terms and conditions
appearing in the Lease.

3, Assignee hereby assumes all of the Lessee's obligations, inchiding the. /
payment of rent, arising after the Effective Date hereof under the Lease and agrees to

indemnify Assignor against and hold Assignor harmless from any and all cost, liability,
loss, damage or expense, including without limitation, reasonable attorneys’ fees, arising
out of facts or circumstances occurring subsequent to the date hereof and arising out of
the Lessee's obligations under the Lease. Assignor agrees to indemnify Assignee against
and hold Assignee harmless from any and all cost, liability, loss, damage or expense,
including without limitation, reasonable attorneys' fees, arising out of facts or
circumstances occurring on or prior to the date hereof and arising out of the Lessee's
_ obligations under the Lease. °

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4. If either party hereto fails to perform any of its obligations “under this
Assignment or if a dispute arises between the parties hereto concerning the meaning or ©
interpretation of any provision of this Assignment, then the defaulting party or the party .

‘ not prevailing in such dispute shall pay any and all reasonable costs and expenses

incurred by the other party. on account of such default and/or in enforcing or establishing:
its rights hereunder including, without limitation, court costs. and attorneys’ fees and
disbursements. Any such attorneys' fees and other expenses incurred by either party in
enforcing a judgment in its favor under this Assignment shall be recoverable separately —
from and in addition to any other amount included in such judgment and such attorneys’ _
fees obligation i is intended to be severable from the other provisions of this Assignment

and to survive and not be merged into any such judgment.

5. The security deposit now held by the Lessor in the amount of $0.00 is hereby

- assigned to the Assignee, ‘and that security deposit shall be returned to the Assignee by:
_ the original Lessor at the conclusion of the term of the Lease.

6. All notices required or permitted hereunder shall be in writing and shall be

sent by certified mail, return receipt requested, or by reputable national overnight courier

service, postage prepaid, to the address listed below, or such other address as may be
given by proper notice to all parties:

Irwin Mortgage Corporation
attn: Legal-Department
10500 Kincaid Drive
Fishers, IN 46038

American Home Mortgage Corp.
atin: Corporate Real Estate Department
538 Broadhollow Road
Melville, NY 11747
7. This Assignment-shall be binding on and inure to the benefit of the parties
hereto, their heirs, executors, administrators, successors in interest and assigns, Any
liability of Assignee hereunder shall be joint and several. ,

8. Ali other provision of the original lease are incorporated herein and are to-be
and shall continue in full force.

9, This Agreement may be executed in one or more counterparts, each of which

when so executed will be deemed to be an original and all of which taken together will -

constitute one and the same agreement. The parties intend that a facsimile signature shall
have the same force and effect as an original signature,

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IN WITNESS WHEREOF Assignor and Assignee have executed this Assignment

the day and year first above written.

mn fl

‘Printed: PIIGKN Hare)

ASSIGNOR:
Irwin Mortgage Corporation

By Aescee Vendlere err)

Renee Gunderson, First Vice President

ASSIGNEE: —
American Home Mortgage Corp.

Tile EVP

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hid Vics President ©

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CONSENT OF LANDLORD

1140 Galaxy Way, Concord CA
‘Pursuant to this Consent of Landlord (this “Consent”), the undersigned hereby:

. (1) consents to the Assignment and Assumption of Lease dated as of April 1, 2005
. (the “Assignment”), between Irwin Mortgage Corporation, as assignor, and
American Home Mortgage Corp, as assignee (a true and correct copy of the
Assignment is attached hereto); .

(2) releases Assignor from all duties, liabilities, and obligations of Assignor under the
Lease (as defined in the Assignment) that become due, payable, or otherwise are
required to be performed after (but not on or before) the date of the Assignment,

(3) does not (A) waive or otherwise relinquish any other of its rights under the Lease
nor its right to consent to any further assignment of the Lease or (B) release or
discharge Assignor from any duties, liabilities, and obligations of Assignor under
the Lease that become due, payable, or otherwise are required to be performed on
or before the date of the Assignment, and

(4) acknowledges that it is the party whose consent to the Assignment is required
under the Lease, it has not assigned any of its interest in the Lease, and that all
notices under the Lease that otherwise are required to be delivered to AHIM after
the date of this Conserit shall be delivered to American Home Mortgage Corp at
538 Broadhollow Road, Melville, NY 11747, Attention: Corporate Real Estate
Department.

This Consent may be executed by facsimile, in which case it shall be deemed to be an

original, This Consent is binding on, and inures to the benefit of, the respective

assignees and successors in interest of Counterparty and may be enforced by Assignor
‘ and/or Assignee (and their respective assignees and successors in interest). .

IN WITNESS HEREOF, the undersigned has executed this Consent as of the date of.
_ the Assignment.

. 1140 Galaxy Way

‘By:
Name:
Title:

